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                     WHATSAPP INC. and FACEBOOK, INC.
            10
            11                                      UNITED STATES DISTRICT COURT

            12                                  NORTHERN DISTRICT OF CALIFORNIA

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            14       WHATSAPP INC., a Delaware corporation,         Case No. 3:19-cv-07123
                     and FACEBOOK, INC., a Delaware
            15       corporation,                                   [PROPOSED] ORDER GRANTING
                                                                    PLAINTIFFS’ ADMINISTRATIVE MOTION
            16                                                      TO RESCHEDULE CASE MANAGEMENT
                                      Plaintiffs,                   CONFERENCE UNDER LOCAL RULES 7-11
            17                                                      & 16-2(D)
                            v.
            18
                     NSO GROUP TECHNOLOGIES LIMITED                 Hon. Jacqueline S. Corley
            19       and Q CYBER TECHNOLOGIES LIMITED,

            20                        Defendants.

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                                                                             [PROPOSED] ORDER GRANTING PLAINTIFFS’
  COOLEY LLP
ATTO RNEY S AT LAW                                              1                      MOTION TO RESCHEDULE CMC
 SAN FRA NCI S CO                                                                           CASE NO. 3:19-CV-07123
                         Case 4:19-cv-07123-PJH Document 16-2 Filed 01/07/20 Page 2 of 2



              1                                         [PROPOSED] ORDER

              2            Good cause appearing, the motion to reschedule the Case Management Conference currently

              3      schedule in this matter for January 30, 2020 at 3 p.m. is GRANTED. The Case Management

              4      Conference is rescheduled to _______________________________, 2020, at 1:30 p.m.

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              6            IT IS SO ORDERED.

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              8      Date: ___________________                ___________________________________________
              9                                               Hon. Jacqueline S. Corley

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                                                                              [PROPOSED] ORDER GRANTING PLAINTIFFS’
  COOLEY LLP
ATTO RNEY S AT LAW                                                2                     MOTION TO RESCHEDULE CMC
 SAN FRA NCI S CO                                                                            CASE NO. 3:19-CV-07123
